






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00871-CV






Shalanda D. Moore, J.D.; and Joseph R. Willie, II, D.D.S., J.D., Appellants


v.


Riecke Baumann, Receiver and Master in Chancery, Appellee






FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY

NO. C-1-CV-11-012239, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellants have filed an unopposed motion to abate this appeal pending settlement
negotiations.  The motion is granted and the appeal is abated until February 18, 2013.  The parties
shall submit either a motion to reinstate or a joint status report concerning the status of settlement
negotiations no later than February 18, 2013.


						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Abated

Filed:   December 19, 2012


